
P.,
delivered the opinion of the court:
The court is of opinion that while the facts certified may be sufficient to raise a strong suspicion that a part of the meat found in the possession of the prisoner or his wife was stolen properly, they do not identifj' it as part of the hogs supposed to have been stolen from Blair Burwell; but on the contrary tend to show that it was not a part of the said hogs; and that the Circuit court therefore erred in overruling the prisoner’s motion for a new trial: Therefore it is considered that the said judgment be reversed and annulled. And this court proceeding to give such judgment as the said Circuit court ought to have given, it is further considered that the verdict of the jury be set aside. And the cause is remanded to the said Circuit court for a new trial to be had therein: which is ordered to be certified to the said Circuit court of Powhatan county.
Judgment reversed.
